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UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND
DAVID C. SHARP
Plaintiff,
VS. CASE NO.: DKC 2007-0173
EDMONSTON PROPERTIES, LLC.
Defendant.

JOINT STIPULATION OF DISMISSAL (WITH PREJUDICE)
PURSUANT TO FED. R. CIV. P. 41(a)(1)(ii)

The parties, by and through their respective undersigned counsel, hereby file this
Joint Stipulation of Dismissal, signed by all parties who have appeared in the action,

dismissing the case with prejudice pursuant to the settlement reached between the

parties.

Dated: May 3, 2007

DAVID C. SHARP EDMONSTON PROPERTIES, LLC.

PLAINTIFF DEFENDANT

MAXWELL & BARKE LLC. LYNOTT, LYNOTT & PARSONS, P.A.

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By: /s/ By: /s/
Joel R. Zuckerman, Esquire James L. Parsons, Jr., Esquire (by
Federal Bar No.: 12730 Joel R. Zuckerman with permission

of James L. Parsons, Esq.)
Federal Bar No. 07518
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Approved, this day of , 2007.

Judge, United States District Court
For the District of Maryland
